Case 1:17-cv-04327-LLS-RWL Document 117

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

MICHAEL DARDASHTIAN, individually and,
on behalf of COOPER SQUARE VENTURES,
LLC, NDAP, LLC, and CHANNEL REPLY,
LLC,

Plaintiffs,

- against -

DAVID GITMAN, JEREMY FALK, SUMMIT,
ROCK HOLDINGS, LLC, ACCEL
COMMERCE, LLC, DALVA VENTURES, LLC,
KONSTANTYN BAGAEV, OLESKSII

. GLUKHAREV, and CHANNEL REPLY, INC.,

Defendants.

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17 Civ. 4327 (LLS) (RWL)

ORDER

ROBERT W. LEHRBURGER, United States Magistrate Judge.

This order addresses motions to withdraw as counsel filed by attorneys for

Defendants David Gitman, Accel Commerce, LLC, Dalva Ventures, LLC and Channel

Reply, Inc. and counterclaim Plaintiffs David Gitman, individually and on behalf of Cooper

Square Ventures, LLC and NDAP, LLC (collectively, “Defendants-Counterclaimants’).

(See Dkt. 111, 115, 116.) The attorneys who have moved to withdraw are three individual

attorneys — Brian S. Cousin, Lindsay F. Ditlow, and Mark D. Meredith — and the law firm

Dentons US LLP, with whom Cousin, Ditlow and Meredith were affiliated shortly before

or at the time of the motion to withdraw. Mr. Gitman, on behalf of the Defendants-

Counterclaimants, consents to the request to withdraw. (Dkt. 111-1 at 73.) Plaintiffs do

not oppose.
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The grounds asserted for withdrawal are that Defendants-Counterclaimants has
been unable to pay counsel since over a year ago and owe a substantial amount to
Dentons, and that Dentons and its clients have a “divergent position with respect to
strategy and settlement going forward.” (Dkt. 111-1 at 3.) Moreover, according to a
letter from Mr. Cousin, Ms. Ditlow and Mr. Meredith dated October 18, 2019, they are no
longer affiliated with Dentons and, as appears from the letterhead, are now affiliated with
another law firm. (See Dkt. 114)

The Court agrees that there is good ground for attorneys Cousin, Ditlow and
Meredith to withdraw. They have changed firms, and their new firm has not appeared in
the case. Accordingly, the motions to withdraw of those three individuals are granted
effective immediately.

As for Dentons, Plaintiff requests that Dentons’ withdrawal be conditioned on
Dentons first producing to Plaintiff all discovery remaining in Dentons’ possession,
including all drafts and written and electronic communications between Mr. Gitman,
and/or two developers and/or Dentons. Dentons has not filed any response to that
request. Accordingly, Dentons’ motion to withdraw is granted subject to compliance with
the following: no later than November 22, 2019, Dentons shall produce to Plaintiffs any
additional responsive discovery it has in its possession and a certification that it has
produced all responsive discovery in its possession. As of November 23, 2019, Dentons
shall be deemed withdrawn.

By November 25, 2019, new counsel, if any, for Defendants-Counterclaimants
shall appear. Absent appearance by new counsel by November 25, 2019, Defendants-

Counterclaimants will be deemed to be proceeding pro se.
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By December 9, 2019, the parties shall submit a proposed revised scheduling

 

order.
SO ORDERED.
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Robert W. Lehrburger
United States Magistrate Judge
Dated: October 24, 2019

New York, New York

Copies transmitted to all counsel of record.
